Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 1 of 7 - Page ID#:
                                    1371




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

    ROBERT MAY, as Administrator for the         )   Cause No. 6:09-165
    Estate of Thomas May, and                    )
    CHRISTOPHER HALL, as                         )
    Administrator for the Estate of Bradley      )
    Hall and MATTHEW BENJAMIN                    )
    COOLEY,                                      )
                                                 )
                           Plaintiff,            )
                                                 )
           v.                                    )
                                                 )
    FORD MOTOR COMPANY,                          )

                           Defendant.

            DEFENDANT FORD MOTOR COMPANY’S MEMORANDUM OF
             LAW IN SUPPORT OF ITS MOTION IN LIMINE TO EXCLUDE
            EVIDENCE REGARDING DESIGN OF OTHER VEHICLES AND
                           OTHER PURPORTED DEFECTS

           Defendant Ford Motor Company hereby submits its Memorandum of Law in

    Support of its Motion in Limine to exclude evidence regarding the design of other

    vehicles and other purported defects. As grounds for its motion, Ford states as follows:

                      THE EVIDENCE SOUGHT TO BE EXCLUDED

           Ford anticipates that Plaintiff will attempt to introduce or comment upon evidence

    concerning other vehicles, including but not limited to, the Ford Falcon, the Lincoln LS,

    Ford Bronco II, 4x2, the “Big Bronco,” the Explorer, the Pinto, the M-151 Mutt or any

    other vehicle which is not at issue in this case. Additionally, Ford anticipates that

    Plaintiff may attempt to introduce or comment upon evidence concerning alleged defects

    to the Ford Taurus that have no bearing on the accident at issue in this case. As

    demonstrated below, evidence concerning these other vehicles and other alleged defects




                                                 1
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 2 of 7 - Page ID#:
                                    1372




    is irrelevant and will unduly prejudice Ford, create confusion in the minds of the jury and

    cause undue delay. For these reasons, the evidence should be excluded.

                                           ARGUMENT

           A.      Evidence Regarding Vehicles Other Than The Ford Thunderbird
                   And Evidence Of Other Purported Defects Is Irrelevant.

           "Evidence which is not relevant is not admissible." Fed. R. Evid. 402. Evidence

    is not relevant if it does not have "any tendency to make the existence of any fact that is

    of consequence to the determination of the action more or less probable than it would be

    without the evidence." Fed. R. Evid. 401.

           In Kentucky, to hold a manufacturer liable on a theory of strict liability, the

    Plaintiff must establish that the product is in a defective and unreasonably dangerous

    condition, that Plaintiff’s injury resulted from the defect in the product which rendered it

    unreasonably dangerous, and that the defect existed at the time it left the seller. Radcliff

    Homes, Inc. v. Jackson, 766 S.W. 2d 63, 68 (Ky. App. 1989). Thus, Plaintiffs must

    demonstrate that the Ford Taurus at issue here was “unreasonably dangerous.”

           Under this standard, only evidence related the product at issue, the 2001 Ford

    Taurus, is relevant. Among the vehicles Plaintiff may seek to discuss are the Ford

    Falcon, the Lincoln LS, Ford Bronco II, 4x2, the “Big Bronco,” the Explorer, the Pinto,

    the M-151 Mutt. These vehicles have different wheelbases, track widths, suspensions,

    tires, weights, centers of gravity, etc. These vehicles have no bearing on the handling

    characteristics of the 2001 Ford Taurus.

           Because only the distinct characteristics of the 2001 Taurus are relevant to

    Plaintiffs’ claims, the Court should exclude all evidence regarding the design of other

    vehicles. See Lewy v. Remington Arms Co., Inc., 836 F.2d 1104, 1109 (8th Cir. 1988)



                                                  2
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 3 of 7 - Page ID#:
                                    1373




    (holding inadmissible evidence regarding fire control of model M600 rifle which

    possessed "different component parts of different shape and dimension" than model

    M700 rifle’s fire control which was the subject of the plaintiffs’ suit).

              Further, Ford anticipates that Plaintiffs will attempt to admit evidence regarding

    other purported defects, both of the Ford Taurus and of other vehicles. Evidence of other

    purported defects is inadmissible to prove that the Ford Taurus at issue here was in a

    defective condition or unreasonably dangerous. Any evidence of defect must involve the

    same alleged malfunction or defect. Rye v. Black & Decker Mfg. Co., 889 F.2d 100, 102

    (6th Cir. 1989) (trial court properly excluded evidence of prior accidents involving the

    same product where complaints involved injuries caused by defects other than that

    alleged by plaintiff); Ponder v. Warren Tool Corp., 834 F.2d 1553, 1560 (10th Cir.

    1987); Jackson v. Firestone Tire & Rubber Co., 788 F.2d 1070, 1083 (5th Cir. 1986)

    ("The ‘substantially similar’ predicate for the proof of similar accidents is defined . . . by

    the defect . . . at issue."). Thus, evidence regarding other purported defects of other

    vehicles is inadmissible because these other defects are not at issue in the current cause of

    action.

              B.     Evidence Regarding Other Vehicles And Of Other Purported Defects
                     Lacks Probative Value Sufficient To Outweigh The Prejudice,
                     Confusion And Undue Delay That Admission of Such Evidence
                     Would Create.

              "Although relevant, evidence may be excluded if its probative value is

    substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

    misleading the jury, or by considerations of undue delay, waste of time, or needless

    presentation of cumulative evidence." Fed. R. Evid. 403.




                                                   3
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 4 of 7 - Page ID#:
                                    1374




           Admitting evidence regarding the design of other vehicles or of other purported

    defects would focus the jury’s attention on other alleged misconduct or design issues,

    rather than on the facts of this case. The confusion that this will undoubtedly cause

    would be highly prejudicial to Ford. The jury could hold Ford liable in this case based

    upon totally irrelevant defects. See Johnson v. Ford Motor Co., 988 F.2d 573, 581, (5th

    Cir. 1993) (upholding trial court’s decision to exclude relevant evidence regarding other

    lines of defendant’s cars, and other mechanical defects because probative value of such

    evidence was outweighed by danger of prejudice to defendant). The likelihood of both

    undue prejudice and confusion of the issues is substantial.

           In addition, introduction of design evidence regarding other vehicles, and of other

    purported defects would prolong the trial because Ford would be compelled to refute or

    explain each piece of evidence relating to other vehicles and other purported defects that

    Plaintiff is permitted to introduce. For example, although in 1978 a California jury found

    the fuel system of the 1972 Pinto to be defective, and awarded punitive damages against

    Ford, in 1980 a jury in San Antonio found the exact same fuel system not to be defective.

    Compare Grimshaw v. Ford Motor Co., 174 Cal. Rptr. 348 (1981) with Yarborough v.

    Ford Motor Co., No. 80C1409 (Tex. Dist. Ct. Dec. 23, 1980). Courts commonly exclude

    evidence of alleged defects in other models of the product at issue on precisely this

    ground. E.g., Brooks v. Chrysler Corp., 786 F.2d 1191, 1198 (D.C. Cir.); cert. denied,

    479 U.S. 853 (1986) (excluding report on other claims involving similar products,

    because, if report had been admitted, the defendant would have attempted to rebut each

    such claim and "jurors’ attention would have been diverted from the specific claim of the

    plaintiffs"); Uitts v. General Motors Corp., 411 F. Supp. 1380, 1383 (E.D. Pa. 1974),




                                                 4
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 5 of 7 - Page ID#:
                                    1375




    (reports of other accidents involving similar products excluded because "[t]he result [of

    their admission] would have been a mini-trial on each of the thirty-five reports offered by

    plaintiffs . . . and the minds of the jurors would be diverted from the claim of the

    plaintiffs to the claims contained in these reports"), aff ’d, 513 F.2d 626 (3rd Cir. 1975).

           Because the admission of design evidence of other Ford vehicles and other

    purported defects, and Ford’s rebuttal evidence, would divert the jury’s attention from the

    facts and issues of this case, thereby misleading and confusing the jury, and because the

    introduction of such evidence would greatly prolong what already promises to be a

    lengthy trial, the Court should rule that such evidence is inadmissible under Fed. R. Evid.

    403.

           C.      Plaintiffs Must Provide Ford With Prior Notification Of Any
                   Reference To Evidence Regarding Other Vehicles And Other
                   Purported Defects.

           "In jury cases, proceedings shall be conducted, to the extent practicable, so as to

    prevent inadmissible evidence from being suggested to the jury by any means, such as

    making statements or offers of proof or asking questions in the hearing of the jury." Fed.

    R. Evid. 103(c). Thus, the Court should require Plaintiffs to provide prior notice outside

    of the jury’s presence as to how the evidence of vehicles other than the Ford Taurus or

    defects not alleged are relevant to the current cause of action.




                                                  5
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 6 of 7 - Page ID#:
                                    1376




                                          CONCLUSION

            For the foregoing reasons, Ford respectfully requests that the Court enter an Order

    forbidding Plaintiffs from making reference to or introducing evidence about the design

    of other vehicles and/or purported defects other than those alleged to have injured

    Plaintiff or Plaintiffs’ decedents.



                                                FROST BROWN TODD LLC

                                                By: /s/ Kevin C. Schiferl
                                                   Kevin C. Schiferl
                                                   Attorneys for Defendant FORD MOTOR
                                                   COMPANY




                                                 6
Case: 6:09-cv-00165-GFVT-HAI Doc #: 120 Filed: 01/03/11 Page: 7 of 7 - Page ID#:
                                    1377




                                      CERTIFICATE OF SERVICE

             I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was

    filed electronically. Notice of this filing will be sent to the following parties by operation

    of the Court’s electronic filing system. Parties may access this filing through the Court’s

    system.

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